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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

    UNITED STATES OF AMERICA

    v.                                   Case No. 8:11-cr-202-T-33EAJ

    MICHAEL ANTHONY PROZER, III

    ___________________________/

                                    ORDER

         On May 6, 2013, Defendant Michael Anthony Prozer, III

    filed three pro se motions: Motion to Compel Documents,

    Depositions, and Sanctions (Doc. # 202), Motion to Disqualify

    (Doc. # 203), and Motion Requesting Advisory Jury or Three

    Panel Judicial Committee to Review Pleadings (Doc. # 204).

    The Government has responded to each submission and requests

    that each submission be stricken from the record.            For the

    reasons that follow, the Court strikes each of Prozer’s

    submissions.

    Discussion

         Prozer pled guilty to conspiracy to commit mail, wire and

    bank fraud and other related charges on April 9, 2012. (Doc.

    # 150). On August 16, 2012, the Court sentenced Prozer to 102

    months incarceration. (Doc. # 175).       The Court’s Judgment was

    entered on August 17, 2012. (Doc. # 177). On August 24, 2012,

    Prozer filed an appeal of the judgment.        (Doc. # 183).     That

    appeal is still pending. See United States v. Prozer, No. 12-
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    14455, Eleventh Circuit Court of Appeals.

         Each of Prozer’s motions are due to be stricken from the

    record because Prozer is represented by counsel.              Local Rule

    2.03(d), M.D. Fla. specifically prohibits a represented party,

    such as Prozer, from filing pro se motions without prior leave

    of court.

         Even if the Court were to allow the pro se submissions

    to stand despite the fact that Prozer is represented by

    counsel, each of Prozer’s motions is nevertheless due to be

    denied because the Court lacks jurisdiction to consider such

    motions during the pendency of Prozer’s appeal. See United

    States   v.     Riolo,   398    F.   App’x    568,     571   (11th      Cir.

    2010)(“Generally, the filing of a notice of appeal deprives

    the district court of jurisdiction over all of the issues

    involved in the appeal.”); United States v. Noblitt, 343 F.

    App’x 544, 546 (11th Cir. 2009)(“the filing of a notice of

    appeal divests the district court of jurisdiction to take any

    action   with   regard   to    the   matter   except    in   aid   of   the

    appeal.”)(internal quotation marks and citations omitted).

    Accordingly, the Court determines that it is appropriate to

    strike the pro se motions.

         Accordingly, it is

         ORDERED, ADJUDGED, and DECREED:

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         The Clerk is directed to STRIKE the following Motions

    from the record: Defendant’s Motion to Compel Documents,

    Depositions, and Sanctions (Doc. # 202), Defendant’s Motion to

    Disqualify (Doc. # 203), and Defendant’s Motion Requesting

    Advisory Jury or Three Panel Judicial Committee to Review

    Pleadings (Doc. # 204).

         DONE and ORDERED in Chambers, in Tampa, Florida, this

    28th day of May, 2013.




    Copies:
    Defendant
    All Counsel of Record




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